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Exhibit R
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Tuesday, May 24, 2016 at 10:58:56 AM Eastern Daylight Time

Subject: Guy Gentile

Date: Monday, October 6, 2014 at 3:36:14 PM Eastern Daylight Time

From: Apple-Mail=_07EE6650-BAAB-4A60-8C58-1AEA72976A29 Adam Ford boundary=
To: Gurbir S. Grewal, Grippo, Nicholas (USANJ)

Gurbir and Nick,

| just left Nick a voicemail (Gurbir your mailbox is full). | have just been alerted to the attached news article which attaches
Adam Levy?s deposition transcript in his defamation suit against Sheriff Don Smith, in it, he discloses Guy Gentile?s name as
@ government cooperator, and testifies that your office instructed him not to speak publicly about Mr. Gentile.

| am planning on writing a letter to the newspaper, demanding that the redact Mr. Gentile?s name, but wanted to alert you to
this development. | am happy to coordinate with you, if you would prefer. Please let me know if you have any instructions for
me to follow, otherwise | will submit this letter to the newspaper shortly.

?Adam

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111 Broadway, Suite 1502

New York, NY 10006

direct: (917) 512-6937
aford@harrisobrien.com

 

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Adam Levy testifies about relationship with ex-trainer

Lee Higgins, Ihiggins2@lohud.com 9:56 p.m. EDT October 4, 2014
Adam Lewy Buy Photo

Putnam County District Attorney Adam Levy announces his defamation lawsuit against Putnam Sheriff Donald Smith,
while in his lawyers office in Carmel on Aug. 14, 2013. (Photo: Frank Becerra Jr./The Journal News)Buy Photo

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CARMEL ? A deposition in a $5 million defamation case between Putnam County District Attorney Adam Levy and
county Sheriff Donald Smith reveals new information about Levy's relationship with his former live-in trainer who
was charged ? and acquitted ? in a child rape case.

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Levy, who has accused Smith of charging trainer Alexandru Hossu with rape to damage the district attorney, testified
that he was close enough to Hossu in the decade Levy knew him to let Hossu at his Southeast home, travel with his
family on a camping trip, baby-sit his children and attend his son's bar mitzvah.

But Levy, the county's chief law enforcement officer, said he never discussed with Hossu that the Romanian-born
trainer was in the country illegally or that Hossu was investigated by Bedford police for embezzling roughly $83,000
from a Katonah restaurant and was ordered by a judge to pay the money back in 2004.

Alexandru Hossu

Alexandru Hossu photographed June 18, 2013. (Photo: Matthew Brown/The Journal News)

Levy testified that he first met Hossu at a gym in Southeast, now known as World Gym, because he needed a new
trainer and Hossu was next in line. Hossu ended up watching his golden retriever puppy when the district attorney
was away and once went camping with Levy's family and another family at Robert H. Treman State Park in Ithaca.

“Alex was there for the purpose of helping out with the puppy and socializing with the puppy and keeping an eye on
him," Levy testified.

Hossu was a frequent house guest of Levy's from March 2011 to June 2012, Levy testified, but also would stay at
Clocktower Commons, an officer center where Levy's business partner, developer Harold Lepler, let the trainer live
rent-free. Hossu was also dating Jennifer Bartlett, Levy's former live-in nanny.

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Putnam County Sheriff Donald Smith (Photo: File photo by Peter Carr/The Journal News)

Hossu moved out of Levy's house because the suite he was using was intended for Levy's father. Levy and his wife
encouraged Hossu to get back on his feet.

"And we said to him, yeah, it's time to take your crate, which is what he had," Levy testified. "He just had a little milk
crate where he had some of his clothes and items ... and we said, 'Got to go back to your digs at Clocktower
Commons.'"

At the heart of Levy's case against Smith is the question of where Hossu was living when he was arrested in 2013.

"Your client's agenda was ta simply link me to Alex Hossu, link Alex Hossu to me with respect to where he gets mail,
what address is on his driver's license ... and to say to the press that Alex lived in my home when he was fully aware
of the fact that he did not," Levy testifed to Smith's lawyer.

Levy acknowledged Hossu's driving record shows Levy's address, a report on Hossu from e-Justice that has secure
criminal-justice information has Levy's address and Hossu received mail at Levy's house. However, Levy testified
Smith ignored evidence showing Hossu lived at Clocktower Commons, including incident reports and information
Hossu provided when he was arraigned.

Levy, the son of TV's Judge Judy Sheindlin, came under intense criticism for his heavy involvement in the rape case

after his office recused itself. Levy contributed $102,000 toward Hossu's defense early on and Levy's brother-in-law,
Dan Mentzer, successfully defended Hossu at trial. Levy testified that he had no idea who paid Mentzer's bill.

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After Hossu was acquitted, Levy said Hossu apologized, saying he was "sorry that he put me in the position that he
did with his immigration status and using my address on his license."

Asked how he responded, Levy testified, "I said it didn't make any difference, Alex, they were going after you anyway
because they really wanted to get me.”

Smith has his own $5 million defamation lawsuit pending against Levy.

The deposition raises questions about whether Levy or someone else may have tipped Hossu to the rape
investigation. On March 13, 2013, Hossu's accuser reported the rape to sheriff's investigators. Levy, who was skiing in

Wyoming, said he was notified by his office that Hossu was the suspect, so he immediately recused his office from
prosecuting the case.

Five days later ? and two days before Hossu's arrest ? Bartlett, the former live-in nanny who was dating him, filled out

a form changing her address from Levy's to a post office box in Brewster. Smith's lawyer, Adam Kleinberg, showed
Levy the form during the deposition.

Kleinberg asked Levy whether he was aware Hossu's SIM card was missing from his cellphone when he was taken

into custody. The cards are considered potentially valuable evidence for investigators seeking to recover contacts,
text messages and call logs.

Levy testified he wasn’t aware the SIM card was missing and "absolutely" did not make any comments to Bartlett or
Hossu about the investigation. He had no contact with Hossu, who is now facing deportation, until the day he was
acquitted, Levy testified.

Read Adam Levy's deposition: http://data lohud.com/documents/adam-levy-deposition.htm|

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